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          ATTACHMENT A
 Case 4:09-cr-00043-SPF Document
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                                   UNITED STATES COURT OF APPEALS
                                       FOR THE TENTH CIRCUIT

                         Entry of Appearance and Certificate of Interested Parties

 UNITED STATES OF AMERICA
                                                          Tenth Circuit Case No. 09-5165
 v.

 LINDSEY KENT SPRINGER


INSTRUCTIONS: COUNSEL FOR A PARTY MUST FORTHWITH EXECUTE AND FILE THIS FORM, INDICATING METHOD (S)
OF SERVICE ON ALL OTHER PARTIES. MULTIPLE COUNSEL APPEARING FOR A PARTY OR PARTIES AND WHO SHARE
THE SAME MAILING ADDRESS MAY ENTER THEIR APPEARANCES ON THE SAME FORM BY EACH SIGNING
INDIVIDUALLY .


        In accordance with 10th Cir. R. 46.1, the undersigned attorney(s) hereby appear as counsel for
                                           United States of America,
                                 Appellant/Petitioner or Appellee/Respondent
in the subject case(s).

        Further, in accordance with 10th Cir. R. 46.1, the undersigned certify(ies) as follows: (Check one.)
9       On the reverse of this form is a completed certificate of interested parties and/or attorneys not otherwise
        disclosed, who are now or have been interested in this litigation or any related proceeding. Specifically,
        counsel should not include in the certificate any attorney or party identified immediately above.

/       There are no such parties, or any such parties have heretofore been disclosed to the court.

Kenneth P. Snoke, Assistant United States Attorney           _____________________________________________
Name of Counsel                                              Name of Counsel

__/s/ Kenneth P. Snoke_______________________                ______________________________________________
Signature of Counsel                                         Signature of Counsel

United States Attorney’s Office                              Mailing Address and Telephone Number
110 West Seventh St., Suite 300
Tulsa, OK 74119                                              E-Mail Address _________________________________
(918) 382-2700
ken.snoke@usdoj.gov

I hereby certify that a copy of this Entry of Appearance and Certificate of Interested Parties was served on

December 3, 2009         via ecf

to: Jerold Barringer, Attorney     Alan Hechtkopf
    Counsel for Petitioner         Alexander P Robbins            /s/ Kenneth P. Snoke
                                   Counsel for Respondent                    (Signature)

(See Fed. R. App. P. 25(b))



A-5 Entry of Appearance Form 10/09
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UNITED STATES COURT OF APPEALS
FOR THE TENTH CIRCUIT




 v.                                                        Case No.




Certificate of Interested Parties




       The following are not direct parties in this appeal but do have some interest in or a relationship
with the litigation or the outcome of the litigation. See 10th Cir. R. 46.1(D). In addition, attorneys not
entering an appearance in this court but who have appeared for any party in prior trial or administrative
proceedings, or in related proceedings, are noted below.

                                  (Attach additional pages if necessary.)




A-5 Entry of Appearance Form 10/09
